OSCAR SAMUELS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Samuels v. CommissionerDocket No. 13534.United States Board of Tax Appeals11 B.T.A. 412; 1928 BTA LEXIS 3820; April 3, 1928, Promulgated *3820 W. W. Spalding, Esq., for the petitioner.  J. F. Greaney, Esq., for the respondent.  ARUNDELL*412  This is a proceeding for the redetermination of a deficiency in income tax for the year 1921 in the amount of $1,526.19.  It is alleged that the respondent erred in treating the entire community income as income of the petitioner.  FINDINGS OF FACT.  During the calendar year 1921 the petitioner was a married man, domiciled and living with his wife in the State of California.  For the year 1921 the petitioner and his wife filed separate income-tax returns, in which each reported one-half of the community income.  On an audit of the returns the respondent added the income reported by the wife to the income of the petitioner, resulting in a deficiency of $1,526.19.  OPINION.  ARUNDELL: The issue involved in this proceeding is governed by our decision in the . Judgment will be entered for the respondent.